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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION




UNITED STATES OF AMERICA,                    )
                                             )
                      Plaintiff,             )
                                             )
       vs.                                   )      Cause No. 1:99-cr-0059-05 (LJM/KPF)
                                             )
MARVIN DUMES,                                )
                                             )
                      Defendant.             )


               ORDER ADOPTING REPORT AND RECOMMENDATION

       Having reviewed Magistrate Judge Kennard P. Foster’s Report and Recommendation that

Marvin Dumes’ supervised release be revoked, pursuant to Title 18 U.S.C. §3401(i), Rule 32.1(a)(1)

Federal Rules of Criminal Procedure and Title 18 U.S.C. §3583, the Court now approves and adopts

the Report and Recommendation as the entry of the Court, and orders a sentence imposed of

imprisonment of 12 months and 1 day in the custody of the Attorney General or his designee. Upon

Mr. Dumes’ release from confinement, he will be subject to three years and 365 days of supervised

release, under the same conditions imposed at sentencing.

       SO ORDERED this _______ day of February, 2012.
                       03/01/2012




                                            ________________________________
                                            LARRY J. McKINNEY, JUDGE
                                            United States District Court
                                            Southern District of Indiana
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Distribution:

Josh Minkler,
Assistant United States Attorney
10 West Market Street, #2100
Indianapolis, IN 46204

Bill Marsh,
Office of Indiana Federal Community Defender
111 Monument Circle, #752
Indianapolis, IN 46204

U. S. Parole and Probation

U. S. Marshal Service




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